Case: 1:18-cv-03936 Document #: 24 Filed: 10/08/19 Page 1 of 5 PagelD #:79

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

WALTER MORAN, )
Plaintiff, No. 18 C 3936
v. ; Honorable Elaine E. Bucklo
ANDRES ORTIZ, et al.,
Defendants.

PLAINTIFF’S RESPONSE TO DEFENDANTS’ REQUESTS TO ADMIT
NOW COMES, Plaintiff, WALTER MORAN (“Moran”), by and through his court-

appointed counsel, MOMKUS LLC, and for his Response to Defendants’ Requests to Admit, states

as follows:
REQUESTS FOR ADMISSION
1. Admit that Plaintiff has not paid any money for medical care he has received

while detained at Cook County Jail.
ANSWER: Admitted.

2. Admit that Plaintiff has been convicted of a felony in the past ten years.
ANSWER: Admitted.

3. Admit that Defendant, Cook County, is immune from any punitive damage award
under City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 101 S. Ct. 2748 (1981).
ANSWER: Plaintiff admits that Cook County is immune from direct awards of punitive
damages in actions brought under §1983. Plaintiff denies that Defendant Ortiz is immune
from any punitive damage award and further denies that Cook County is immune from any
indemnification of Defendant Ortiz for punitive damages pursuant to City of Newport v. Fact

Concerts, Inc., 453 U.S. 247, 101 S. Ct. 2748 (1981).
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4, Admit that Plaintiff never provided and [sic] CCDOC staff any written document
informing staff that his “did not feel safe.”
ANSWER: Admitted.

5. Admit that Plaintiff refused to press charges against any detainee involved in the

July 12, 2017 incident on Tier 2B of Division 9.
ANSWER: Denied.

6. Admit that Plaintiff refused protective custody following the July 12, 2017
incident on Tier 2B of Division 9.
ANSWER: Denied.

7. Admit that Plaintiff did not request protective custody following the July 12, 2017
incident on Tier 2B of Division 9.
ANSWER: Admitted.

8. Admit that Plaintiff refused to press charges against any detainee involved in the
July 12, 2017 incident on Tier 2E of Division 9.
ANSWER: Denied.

9. Admit that Plaintiff refused protective custody following the July 12, 2017
incident on Tier 2E of Division 9.
ANSWER: Denied.

10. Admit that Plaintiff did not request protective custody following the July 12, 2017
incident on Tier 2E of Division 9.

ANSWER: Admitted.
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Respectfully submitted,
WALTER MORAN

/s/ John P. Killacky
By: One of his Attorneys

John P. Killacky (ARDC #6275270)
Patrick R. Boland (ARDC #6312380)
MOMKUS LLC

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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

WALTER MORAN,
Plaintiff, No. 18 C 3936

Vv. Honorable Elaine E. Bucklo

ANDRES ORTIZ, et al.,

Nee ee ee ae es

Defendants.
DECLARATION OF WALTER MORAN

Pursuant to 28 U.S.C. § 1746, the undersigned, Walter Moran, declares that he has read the
foregoing Response to Defendants’ Requests to Admit and the Responses made therein are true,
correct, and complete to the best of his knowledge and belief.

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Walter Moran
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CERTIFICATE OF SERVICE

I, John P. Killacky, an attorney, certifies that on October 8, 2019, he served the foregoing
Plaintiff's Response to Defendants’ Request to Admit to the following counsel, via electronic mail,
and U.S. First Class Mail, in a properly addressed, stamped envelope, with the proper postage
prepaid before the hour of 5:00 p.m.:

Kevin Thomas
Assistant State’s Attorney
Cook County State’s Attorney’s Office
500 Richard J. Daley Center
Chicago, Illinois 60602
Kevin.thomas@cookcountyil.gov

/s/ John P. Killacky
John P. Killacky

John P. Killacky (ARDC #6275270)
Patrick R. Boland (ARDC #6312380)
MOMKUS LLC

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